      Case 4:14-cr-00497 Document 89 Filed on 02/13/15 in TXSD Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §            CRIMINAL NO. H-14-497S
                                                 §
MARIANO QUINTANILLA-CAMPOS                       §
AKA MARIO                                        §


                          ORDER OF DETENTION PENDING TRIAL

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No. 84. I conclude that the following facts are established by a preponderance of
the evidence or clear and convincing evidence and require the detention of the defendant pending
trial in this case.

                                         Findings of Fact

[]     A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
               would have been a federal offense if a circumstance giving rise to federal jurisdiction
               had existed) that is

               [ ] a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

               [ ] an offense for which the maximum sentence is life imprisonment or death.

               [ ] an offense for which a maximum term of imprisonment of ten years or more is
                   prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

               [ ] a felony that was committed after the defendant had been convicted of two or
                   more prior federal offenses described in 18 U.S.C. § 3142(f)(1) (A)-(C), or
                   comparable state or local offenses.

       [ ] (2) The offense described in finding 1 was committed while the defendant was on release
               pending trial for a federal, state or local offense.

       [ ] (3) A period of not more than five years has elapsed since the (date of conviction)
               (release of the defendant from imprisonment) for the offense described in finding 1.
       Case 4:14-cr-00497 Document 89 Filed on 02/13/15 in TXSD Page 2 of 3




        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and
                the community. I further find that the defendant has not rebutted this presumption.

[]      B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [ ] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                condition or combination of conditions will reasonably assure the appearance of the
                defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is charged with sex trafficking and harboring and transporting illegal
               immigrants in violation of 18 U.S.C. §§ 1591, 1594 and 8 U.S.C. § 1324.

        [X] (2) There is a serious risk that the defendant will flee.

        [X] (3) Defendant represents a danger to the community.

        [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                      justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                      to do so).

[X ]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1)       As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                      U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                      as required.

        [X] (4)       I find that there is no condition or combination of conditions set forth in
                      18 U.S.C. § 3142(c) which will reasonably assure the safety of any other person
                      or the community.

                                                    2
      Case 4:14-cr-00497 Document 89 Filed on 02/13/15 in TXSD Page 3 of 3




                            Written Statement of Reasons for Detention

        I find that the accusations in the superseding indictment and the pretrial services report
establish by a preponderance of the evidence that no condition or combination of conditions will
reasonably assure the appearance of the defendant as required and by clear and convincing evidence
that no conditions will assure the safety of the community.
.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 32-year old citizen of El Salvador with no legal status in the United
               States. Immigration and Custom Enforcement has lodged a detainer against him.

       2.      Defendant is accused of sex trafficking and harboring and transporting illegal
               immigrants in the United States in violation of 18 U.S.C. §§ 1591, 1594 and 8 U.S.C.
               § 1324. Defendant is facing a potential penalty of up to life in prison.

       3.      Defendant's criminal history in the United States includes prior removal proceedings,
               and charge of promotion of prostitution, and pending state charges of compelling
               prostitution related to this federal case.

       4.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court. Detention is ordered.

                                  Directions Regarding Detention

       It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

       Signed at Houston, Texas, on February 13, 2015.




                                                  3
